
908 A.2d 268 (2006)
GARY E. WIMER, Respondent
v.
PENNSYLVANIA EMPLOYEES BENEFIT TRUST FUND (PEBTF), Petitioner.
No. 65 WAL 2005.
Supreme Court of Pennsylvania, Western District.
September 14, 2006.

ORDER
PER CURIAM
AND NOW, this 14th day of September 2006, the Petition for Allowance of Appeal is granted limited to the following issues:
Did the Superior Court err as a matter of law when it concluded that Appellee Gary E. Wimer ("Wimer") was not required to exhaust his contractual remedies under the PEBTF's governing plan documents?
Did the Superior Court err as a matter of law when it concluded that the PEBTF's right to subrogation is determined as of the date when it reimbursed Wimer's medical expenses and therefore concluded that the PEBTF should be denied the right of subrogation for any medical payments made on Wimer's behalf after January 1, 1998?
